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           Appellate Division of the Supreme Court
                     of the State of New York
                  Second Judicial Department


     I, Darrell M. Joseph, Acting Clerk of the Appellate Division
of the Supreme Court of the State of New York, Second Judicial
Department, do hereby certify that

                  Joel Laurence Kurtzberg
was duly licensed and admitted to practice as an Attorney and
Counselor at Law in all the courts of this State on August 20, 1997,
has duly taken and subscribed the oath of office prescribed by law,
has been enrolled in the Roll of Attorneys and Counselors at Law
on file in this office, is duly registered with the Office of Court
Administration, and      according to the records of this Court is
currently in good standing as an Attorney and Counselor-at-Law.



                            In Witness Whereof, I have hereunto set
                            my hand in the City of Brooklyn on
                            February 27, 2024.




                                  Acting Clerk of the Court


CertID-00162400
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                                     Appellate Division
                            Supreme Court of the State of New York
                                 Second Judicial Department
                                      45 Monroe Place
                                   Brooklyn, N.Y. 11201
                                         (718) 875-1300
 HECTOR D. LASALLE                                                        KENNETH BAND
    PRESIDING JUSTICE                                                        DEPUTY CLERKS

                                                                        MELISSA KRAKOWSKI
DARRELL M. JOSEPH
ACTING CLERK OF THE COURT                                                  WENDY STYNES
                                                                          LAUREN G. DOME
                                                                         BRIAN E. KENNEDY
                                                                             January 7, 2005
                                                                        ASSOCIATE DEPUTY CLERKS



To Whom It May Concern


      An attorney admitted to practice by this Court may request a certificate of
good standing, which is the only official document this Court issues certifying to an
attorney's admission and good standing.


       An attorney's registration status, date of admission and disciplinary history
may be viewed through the attorney search feature on the website of the Unified
Court System.


         New York State does not register attorneys as active or inactive.


      An attorney may request a disciplinary history letter from the Attorney
Grievance Committee of the Second Judicial Department.


      Bar examination history is available from the New York State Board of Law
Examiners.


         Instructions, forms and links are available on this Court's website.




                                                   Darrell M. Joseph
                                                   Acting Clerk of the Court




Revised August 2023
